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UNITED STATES DISTRICT COURT
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CiVlL CON'|PLAINT

A|vin Xex A|vin

Plaintif'f.

V. Case No.: 51 IS'Q! 228’>1'5“\\4/£6\‘€

Mayor Lenny Curry,

City ofJacksonvil|e,

Centra| Security,

Friends of Hemming Park,

Bil| Prescott, CEO jury Trial Requested

Defendants.

|. lntroduction/.lurisdiction

1) l am asking this Court for a decision regarding violations of my civil and legal rights to stand, speak
and protest in the ”public square.” The space being a public park, used for many purposes over 100
years, in Jacksonville, Florida-Hemming Parl<. l will present a Constitutional question, evidence of
arbitrary and vague rulings by the City ofJacksonvi|le's elected, |egal, and appointed officials or tax
supported affiliates and Contractors, to limit access. The aforementioned violations and rulings by
the “City” in effect claim and posit Hemming Park (hereafter ”Park"} as a private entity, which it isn't,
so, 28 U.S.C. Sec. 1331, a federal, and state question is involved.

||. Statement of Facts

1) The City of Jacksonvi||e (hereafter “City”) recently enacted legal measures attempting to clean up,
refurbish, and rebrand the public park Hemming Park as a safe , friendly space for all, while insist-

ing trouble makers, the homeless and loiters were scaring, attacking, and intimidating potential or

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real park patrons. l-iowever, the questionab|e, vague and arbitrary tactics amount to violations of
established legal and civil rights under the Florida, United States Constitutions, and Supreme Court
decision, Margaret Papachristou V. City of Jacksonvi|le (1972) No. 70-3030, for examp|e, says the
City’s vagrancy ordinance “void for vagueness...unfettered discretion it places in hands ofJackson-
ville police...,” to, the City Code, Sec. 614.138 does not mention loitering, or what constitutes any
specific time a person standing (i.e. |oitering) in a park space is in fact a loiterer. Sec. 614.138 (c)(1)
(5) et al, in the Code, or the Central Core Enhancement Area guidelines do not state a legal time-
one minute, two minutes, five minutes, etc., standing or walking in generally permitted areas of
Hemming Park, allows the Jacksonvil|e Police or the contracted security, Central Security, to claim
any Florida, American citizen or visitor is loitering, and thereby must exit the public space. Section
614.106 is similarly vague as per people temporarily inhabiting public spaces owned by lacksonville
tax payers too.

||l. Question/Argument

1) Further, Florida Statute 856.021 (1)(2) states "...unlawfu| for any person to loiter or prowl in a
place, at a time or manner not usual for law-abiding individuals, under circumstances that war-
rant a justifiable and reasonable alarm or immediate concern for the safety of persons or prop-
erty in the vicinity. One can hardly consider day (hours from say 7:00 AM to 6:00 PM) hours “not
usual" for Hemming Park's many regular and transient visitors. And, what specific circumstances,
short of a physical attack, threat to harm property or person, constitutes loitering under 856.021?

2) Section 856.021 (2) only ”considers determination warranting enforcement for alleged loitering or
prowling, when one attempts to conceal identity or takes flight; and, statute affords a suspect the
opportunity to dispel any concern with his or her explanation...No person can be convicted und-
er this section if the law enforcement officer does not comply with said procedure of statute."
At the time of incident, February 10, 2018, about 12:15 PM, Hemming Park's contracted security
company, Central Security, did not alert lacksonville Sheriff Office, which holds police power for
any violations of laws on public and private property, about any legal infractions inside the park
or immediate vicinity, nor afford me an opportunity to answer any questions they posed. Again,
governing rules and the law not followed, depriving my legal and civil rights. Two Central Security

white male guards on duty in the Park, on the date and time mentioned, approached me about a

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disturbance near the Park's Confederate Monument.

At the monument were 5-6 white males and females, talking and waving the Confederate flag, l
walked near the public edifice too, one guard proceeded to admonish and force me out of the
Park. He even told me l could not stand on the surrounding sidewalk as this was trespassing too.
Later upon request, the City and Hemming Park management told me anyone can protest in the
Park without a permit-l have an outstanding Open Record Act request for seemingly conflicting
rulings and statements by the City because of this clear double standard.

3) The Ecker decision 311 So. 2d 110 and 111, recognized that a suspect "cannot be compelled to
explain his presence and conduct without first being properly advised under Miranda." 311 So.-
2d at 111 also indicates evidence of observation, for loitering and prowling, not made by police
ls rejected by the Second District Court of Appeal-again conflicting with portions of 856.021(1)
Fla. Stat-Mc Clamma v. State Slip op. at 9.

lV. Rule/Lega| Standard

1) l believe the Florida Constitution's Articles 1, Section 5 (right to assemb|e), Article 1, Section 9
(due process), Fla. Stat. 856.021(2), |astly, the Terry Stop ruling, along with prior state or federal
case decisions and rulings, cited at this initial stage, satisfy this Court's purview.

lV. Re|ief Requested

1) l believe citizens of the City, Florida, and visitors should fee|, safe and comfortable when visiting
public spaces long considered as such. And, imminent or real harassment, threats from anyone,
including Jacksonvi||e law enforcement personnel, contracted agents, and Park personnel must
warrant punitive and exemplary damages. Psycho|ogical or physical harm determined by trained
medical doctors, such as psychiatrists, can assess possible harms l experienced, including mon-
etary damages allowed by law if case facts prevail. Along with the damages mentioned, l ask the
the Court to impose an injunction upon the City and Defendants, for the current and illegal act-

ions of demanding some citizens and visitors leave Hemming Park for simply standing, ”loiter-

ing,” in spaces only very recently considered off limits by the City, and arbitrarily enforced.

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V. CERT|F|CAT|ON

l certify that to the best of my knowledge, information, and belief, this complaint is not present-
ed for an improper purpose, such as to harass, cause unnecessary delay, or needlessly increase
cost of litigation; and is supported by existing law or by a non-frivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, will
likely have evidentiary support after a reasonable opportunity for further investigation or disco-
very; and the complaint otherwise complies with the requirements of Rule 11.

l agree to timely notify the Clerk's Office if there is any change to my mailing address. l under-
stand that my failure to keep a current address on file with the Clerk’s Office may result in dis_

missal of my case.

,,
DATE: 06/29/18 M

Nlr. Alvin Alvin Pro $e

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